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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                                                10/21/2020
                                                          :
SPECTRUM DYNAMICS MEDICAL                                 :
LIMITED,                                                  :
                                                          :
                                        Plaintiff,        :     18-cv-11386 (VSB)
                                                          :
                      -against-                           :           ORDER
                                                          :
GENERAL ELECTRIC COMPANY et al.,                          :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        The Court held a status conference with the parties in the above-captioned case on

October 20, 2020. (See Doc. 116.) Accordingly, it is hereby:

        ORDERED that the parties’ Proposed Case Management Plan and Scheduling Order

(Doc. 119) will be held in abeyance until the parties meet and confer and submit to the Court a

new proposal on or before Friday, October 23. If the parties do not submit such a proposal then,

the Court will modify the proposed plan as necessary and enter it.

        ORDERED that, in light of Defendants’ representations that they will produce in short

order the agreements Plaintiff has requested, Doc. 118 is DENIED as moot.

        ORDERED that, as represented to the parties, this case, including the discovery dispute at

Doc. 117, will be referred to the designated Magistrate Judge for general pretrial proceedings.

        The Clerk’s Office is directed to terminate the open motions at Documents 117 and 118.

SO ORDERED.

Dated: October 21, 2020
       New York, New York
